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              IN THE UNITED STATE DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION

MELANIE HOGAN SLUDER, et al.,            )
                                         )
           Plaintiffs,                   )
                                         )       CIVIL ACTION
v.                                       )       NO. 4:24-cv-00181-WMR
                                         )
REBECKA PHILLIPS, et al,                 )
                                         )
           Defendants.                   )

                                    ORDER
     The cause coming before the Court and having been duly considered, the

Court hereby ORDERS as follows:

     1. The non-party Georgia Bureau of Investigation’s Motion for Protective

        Order (ECF 75) is GRANTED and the Protective Order is entered.

     2. The Georgia Bureau of Investigation and the Whitfield County District

        Attorney shall furnish all records responsive to Plaintiff’s subpoenas on or

        before April 11, 2025. If any records are withheld on the basis of privilege,

        the Georgia Bureau of Investigation and/or the Whitfield County District

        Attorney shall furnish a privilege log that complies with Fed. R. Civ. P.

        45(e) at the time they provide responsive records.




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